Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 1 of 30




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Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 2 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 3 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 4 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 5 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 6 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 7 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 8 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 9 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 10 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 11 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 12 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 13 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 14 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 15 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 16 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 17 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 18 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 19 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 20 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 21 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 22 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 23 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 24 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 25 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 26 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 27 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 28 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 29 of 30
Case 2:16-md-02740-JTM-MBN Document 13857-28 Filed 03/02/22 Page 30 of 30
